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8
                             UNITED STATES DISTRICT COURT
9
                            CENTRAL DISTRICT OF CALIFORNIA
10
11   NIZA M.,                                 )     CASE NO. CV 20-9166-AGR
                                              )
12                            Plaintiff,      )
                                              )     JUDGMENT
13               vs.                          )
                                              )
14   KILOLO KIJAKAZI, Acting                  )
     Commissioner of Social Security,         )
15                                            )
                              Defendant.      )
16                                            )
17
18               IT IS HEREBY ADJUDGED that the decision of the Commissioner is
19   reversed and this matter is remanded for further proceedings consistent with the
20   Memorandum Opinion and Order.
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22
23   DATED: November 23, 2021
                                                     ALICIA G. ROSENBERG
24                                                United States Magistrate Judge
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